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                                                               FILED: April 26, 2022


                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

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                                           No. 19-2032
                                      (1:17-cv-00388-RDB)
                                     ___________________

        IN RE: UNDER ARMOUR SECURITIES LITIGATION

        _________________________________________


        ABERDEEN CITY COUNCIL, as Administrating Authority for the North East
        Scotland Pension Fund; BUCKS COUNTY EMPLOYEES RETIREMENT
        FUND, Individually and on behalf of all others similarly situated

                    Plaintiffs - Appellants

        v.

        UNDER ARMOUR, INCORPORATED; KEVIN A. PLANK; LAWRENCE P.
        MOLLOY; BYRON K. ADAMS, JR.; GEORGE W. BODENHEIMER;
        DOUGLAS E. COLTHARP; KAREN W. KATZ; A. B. KRONGARD;
        WILLIAM R. MCDERMOTT; ERIC T. OLSON; HARVEY L. SANDERS; JP
        MORGAN SECURITIES, LLC; MERRILL LYNCH, PIERCE, FENNER &
        SMITH, INCORPORATED; WELLS FARGO SECURITIES, LLC; HSBC
        SECURITIES (USA) INC.; PNC CAPITAL MARKETS, LLC; BB&T CAPITAL
        MARKETS; SUNTRUST ROBINSON HUMPHREY, INC.; CITIGROUP
        GLOBAL MARKETS, INCORPORATED; GOLDMAN SACHS & COMPANY,
        LLC; REGIONS SECURITIES, LLC; SMBC NIKKO SECURITIES AMERICA,
        INC.

                    Defendants - Appellees

        and
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        ANTHONY W. DEERING; BRAD DICKERSON

                        Defendants

                                     _________________________

                                       RULE 42(b) MANDATE
                                     _________________________

              This court's order dismissing this appeal pursuant to Local Rule 42(b) takes

        effect today.

              This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                               /s/Patricia S. Connor, Clerk
